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January 8, 2021

VIA ECF

The Honorable Alison J. Nathan
United States District Court, Southern District of New York
40 Foley Square, Room 2102
New York, NY 10007

Re:      Julian et al. v. Metropolitan Life Insurance Co., No. 17-cv-00957 (AJN)(BCM)


Dear Judge Nathan:

We represent Defendant Metropolitan Life Insurance Co. (“Defendant”) in the above-
referenced matter. We write together with Plaintiffs’ counsel, pursuant to Section 1.D of
Your Honor’s Individual Practices, to jointly and respectfully request the following
extensions:

   i.    a one-week extension of time, until January 22, 2021, for Defendant to file its
         Reply in support of its Decertification Motion;

  ii.    a one-week extension of time, until January 22, 2012, for Defendant to file its
         Opposition to Plaintiffs’ Motion for Rule 23 class certification;

 iii.    a one-week extension of time, until January 29, 2021, for Defendant to file its
         Reply in support of its Motion for Summary Judgment;

 iv.     An eight-day extension of time, until January 21, 2021, for Plaintiffs to file their
         Reply in support of their Motion to Strike;

  v.     If Defendant’s deadline to file its Opposition to Plaintiffs’ Motion for Rule 23 class
         certification is extended until January 22, 2012, the parties respectfully request that
         Plaintiffs’ Reply be due on February 26, 2012.




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The parties have requested the above-referenced extensions due to the recent holidays,
vacation plans of counsel, clients, and employees at MetLife, and other scheduling issues.
These are the parties’ first requests for extensions of the above-referenced dates.

Additionally, the parties respectfully request a five-page extension to their 10-page limit
for the Reply briefs listed above
                            above. Given the extensive record in this matter, the parties
respectfully request five additional pages for their Reply briefs to present the Court with
thorough responses to the arguments presented by the other party.

Thank you for your consideration of this matter.                   SO ORDERED.
Respectfully submitted,

/s/ Christopher A. Parlo                                                              1/12/2021

Christopher A. Parlo

cc:    Michael Palmer, Esq.; David Tracey, Esq.; Michael R. DiChiara, Esq. (Attorneys
       for Plaintiffs, via ECF)
